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          EXHIBIT 39
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                     EMPLOYEE SECRECY AND INTELLECTUAL PROPERTY AGREEMENT

          Name of Employee: ; Christopher P. Shanahan

          Residence Address: 18908 Jillian Court, Orland Park, IL 60467¶

          A. Introduction¶

          Centocor Ortho Biotech Inc. is one of numerous entities within the Johnson & Johnson Family of Companies.
          The businesses in which these entities are engaged are extremely competitive, During your employment, you
          will be given access to CONFIDENTIAL INFORMATION (as defined below) relating to the business of
          Centocor Ortho Biotech Inc. and may have access to CONFIDENTIAL INFORMATION relating to the
          business of other entities within the Johnson & Johnson Family of Companies. This Employee Secrecy and
          Intellectual Property Agreement (this “Agreement”) also applies to any employment you may subsequently
          have with any other Johnson & Johnson company.¶

          Because your receipt of CONFIDENTIAL INFORMATION will assist you in performing your work
          effectively and because the secrecy of CONFIDENTIAL INFORMATION is very important for competitive
          and other reasons, you are expected to preserve its confidentiality, To formalize these expectations, this
          Agreement sets forth certain confidentiality obligations you have to Centocor Ortho Biotech Inc. and to any
          other Johnson & Johnson company by which you may be employed at a later date or to whose
          CONFIDENTIAL INFORMATION you are given access while employed by Centocor Ortho Biotech Inc. or
          any other Johnson & Johnson company. This Agreement also defines certain rights and obligations
          concerning intellectual property and publicity.¶

          B. Definitions

          As used in this Agreement:¶

The COMPANY means CENTOCOR and JOHNSON & JOHNSON and nay of their successors or assigns, purchasers,
acquires and any of their existing and future subsidiaries, divisions or affiliates, including any such subsidiary, division or
affiliate or Johnson & Johnson to which I may be transferred or by which I may be employed in the future. Affiliates of the
COMPANY are any corporation, entity or organization at least 50% owned by the COMPANY, by JOHNSON & JOHNSON
or by any subsidiary of Johnson & Johnson. ¶

          I means the employee whose name appears above, also referred to by the use of first person, such as me and my.¶

          COMPANIES means, collectively Centocor Ortho Biotech Inc., Johnson & Johnson, and all Other entities
          that are at least 50 percent owned by Johnson & Johnson, either directly or indirectly, and their respective
          successors and assigns.¶

          COMPANY means any of the COMPANIES.¶

          EMPLOYER means Centocor Ortho Biotech Inc. or, if applicable, any other COMPANY by which you are
          (or were) employed at the time an issue arises under this Agreement. For purposes or provisions of this
          Agreement that concern your rights and obligations after you are no longer employed by any COMPANY.
          EMPLOYER means the COMPANY by which you were last employed at any time.

                 INVENTIONS means discoveries, improvements and/or ideas, whether patentable or notend ideas,
          whether or not patentable, that relate to any work assigned to or performed by you for or on behalf of any
          COMPANY or to the actual or anticipated research or development or other business activities of any
          COMPANY.




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               CONFIDENTIAL INFORMATION means information disclosed to me or known by me as a result of my
      employment by theabout the business of any COMPANY, not generally known to the trade or industry in which the
      COMPANY is engaged, about products processes, technologies, machines, customers, clients, employees, services
      and strategies of the COMPANY, including, but not limited to, inventionwhich is disclosed to you or known by
      you as a result of your employment by any COMPANY. CONFIDENTIAL INFORMATION includes, but is
      not limited to (a) information that the COMPANY keeps confidential from competitors concerning such
      things as inventions, research, development, strategies, operations, logistics, manufacturing, distribution,
      purchasing, licensing. business planning and development. finance, computer software, computer or hardware,
      automated systems, engineering, marketing, merchandising, selling, sales, personnel, customers or clients,
      including, but not limited to, sales volumes or strategies, number or location of sales representatives, names or
      significance of thea COMPANY’sS customers or clients or their employees or representatives, preferences, needs or
      requirements, purchasing histories, or other customer or client-specific information.; and (b) personal or business
      information about any COMPANY’s employees, customers, vendors, consultants and agents which is net
      publicly known and is disclosed to you or known by you in connection with your employment by any
      COMPANY,¶

  I AM EMPLOYED OR DESIRE TO BE EMPLOYED BY [OPERATING COMPANY] IN A CAPACITY IN WHICH I
MAY RECEIVE OR CONTRIBUTE TO THE CREATION OF CONFIDENTIAL INFORMATION¶

      C. Rights and Obligations

      In consideration of myyour receipt of CONFIDENTIAL INFORMATION, your employment or the continuation
      of my employment by the COMPANYyour employment with any EMPLOYER, and other benefits being
      provided to you in connection with this Agreement, you agree 05 follows:

      1.       I agree to1.       You will disclose promptly to the COMPANYin writing to your EMPLOYER or its
      designee all INVENTIONS conceived or made by meyou during your employment whether or not during myyour
      hours of employment or with the use of theany COMPANY’s facilities, materials or personnel, either solely or
      jointly with another or with others during my employment with the COMPANY, and related to the actual or
      anticipated business or activities of theany COMPANY, or related to itstheir actual or anticipated research and
      development or suggested by or resulting from any task assigned to meby you or work performed by meyou for, or
      on behalf of, theany COMPANY. IExcept as otherwise provided in Paragraphs 12, 13 and 14 of this
      Agreement, you assign and agree to assign myyour entire right, title and interest therein to the COMPANY. Iin all
      INVENTIONS to your EMPLOYER or its designee. You will not assert any rights under or to any
      INVENTIONS as having been made or acquired by meyou prior to myyour being employed by the
      COMPANYyour EMPLOYER unless such INVENTIONS arec identified on a sheet attached hereto and signed by
      meyou and the COMPANYyour EMPLOYER as of the date of this Agreement.

      2.       I recognize that all2.      All works, including, but not limited to report, reports, computer programs,
      drawings, documentation and publications, which Ithat you create or prepare during and within the scope of
      theyour employment with the COMPANY,your EMPLOYER shall be considered works made for hire, and that
      the worldwide copyrights therein shall be the sole and exclusive property of the COMPANY. In the event that any
      saidyour EMPLOYER. If any such copyrightable work or portion thereof shall not be legally qualifiedy as a work
      made for hire, or shall subsequently be sohe held to not to be a work made for hire, I agree toyou assign, and do
      hereby soagree to assign to the COMPANY, allyour EMPLOYER or its designee all your right, title and interest
      in and to said work or portion thereof, I willtherein. You agree to promptly and fully disclose, all such works to the
      COMPANYyour EMPLOYER.

      3.       I shall, whenever requested to do so by the COMPANY,3.          You will execute any applications,
      assignments or other instruments which the COMPANY shall considerthat your EMPLOYER considers necessary
      to apply for and obtain Letters Patent, or trademark and/or copyright registrations in the United States, or any
      foreign country, or to protect otherwise the COMPANY’s interests. These obligations shall continue beyond the
      termination of my employment with theinterests of any COMPANY with respect to INVENTIONS, trademarks
      orand copyrightable works conceived, authored or made by me during my period of employment, and shall be
      building upon mycreated, authorized or made by you during your employment. These obligations shall continue

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        beyond the termination of your employment and shall he binding upon your executors, administrators orand
        other legal representatives.

        4.       I shall4. You will not use or disclose to the COMPANY or induce the COMPANY to use any secret,
        proprietary or any COMPANY any confidential information or material belonging to others, including myyour
        former employers, if any. I am aware ofYou represent there is no agreement, contract, non-compete covenant,
        non-disclosure/secrecy agreement or similar restriction that would in any way restrict, limit or prohibit my
        employment by the COMPANY that Iprohibit or restrict your ability to perform your job-related duties that
        you have not disclosed and provided to the COMPANYyour EMPLOYER.¶

5.   I recognize that CONFIDENTIAL INFORMATION is of great value to the COMPANY, that the COMPANY has
     legitimate business interests in protecting its CONFIDENTIAL INFORMATION, and that the disclosure to anyone not
     authorized to receive such information will cause immediate irreparable injury to the COMPANY. Unless I first secure
     the COMPANY’s written consent. I will not disclose, use, disseminate, lecture upon or publish CONFIDENTIAL
     INFORMATION. I understand and agree that my obligations not to disclose, use, disseminate, lecture upon or publish
     CONFID$NTIAL INFORMATION shall continue after termination of my employment for any reason. I understand and
     acknowledge that if I violate this Agreement or an about to violate this Agreement, the COMPANY shall have the right,
     and be entitled to, in addition to any other remedies it may have, injunctive relief.¶

        5.       Except as required by your duties for your EMPLOYER, you will not use, disclose, disseminate,
        lecture upon or publish any CONFIDENTIAL INFORMATION, either during your employment with your
        EMPLOYER or thereafter, unless you first obtain the prior written consent of any COMPANY to which the
        CONFIDENTIAL INFORMATION relates.

        6. 6. Upon termination of myyour employment with the COMPANY for any reason, I shallyour EMPLOYER, you
        will turn over to aan individual designated individual employed by the COMPANY,by your EMPLOYER all
        property then in myyour possession or custody and belonging to theyour EMPLOYER or any other COMPANY,
        including any computer equipment. IYou shall not retain any copies of any correspondence, memoranda, reports,
        notebooks, drawings, photographs, or other equipment. I shall not retain any copies of correspondence, memoranda,
        reports, notebooks, drawings, photographsphotograph, or other documents in any form whatsoever (including
        information contained in computer memory or on any computer disk) relating in any way to the affairs of theyour
        EMPLOYER or any other COMPANY and whichthat were entrusted to me or obtained by meyou at any time
        during myyour employment with theAny COMPANY.¶

        7.      You acknowledge that if you violate or are about to violate this Agreement by disclosing or using
        information prohibited by Paragraph S above, or by failing to turn over property as required by Paragraph 6
        above, immediate irreparable injury to one Or more of the COMPANIES will result., warranting (in addition to
        any other relief) the imposition of injunctive relief against you.

        7.       I hereby consent and agree to assignment by the COMPANY of8.              Your EMPLOYER may assign
        this Agreement and all of its rights and obligations hereunder including, but not limited to, an assignment in
        connection with any merger, sale, transfer or acquisition by the COMPANY or relating to all or part of its assets,
        divisions and/or affiliates. Each COMPANY is an express third party beneficiary of this Agreement.

        8. 9. Nothing hereinin this Agreement shall limit or reduce myaffect any common law duties you have to theany
        COMPANY, including, but not limited to my, your duty of loyalty.

        9. 10. This Agreement shallwill be governed by and interpreted according to the laws of the State of New Jersey,
        without regard to theits conflict of law rules thereof. I agree that any. Any action relating to or arising out of this
        Agreement may be brought in the courts of the State of New Jersey or, if subject matter jurisdiction exists, in the
        United States District Court for the District of New Jersey. IYou consent to personal jurisdiction and venue in both
        such courts and to service of process by United States Mmalil or express courier service in any such action.,




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10. 11. In the event that any provision orof this Agreement is invalidated or unenforceable under applicable law, that
shall not affect the validity ofor enforceability of the remaining provisions. To the extent that any provision of this
Agreement is unenforceable because it is overbroad, that provision shall behe limited to the extent required by
applicable law and enforced as so limited. ¶

12.     The following applies only to a Minnesota employee: Paragraph I does not apply to an INVENTION
for which no equipment, supplies, facility, or trade secret information of any COMPANY was used to
conceive or reduce to practice such INVENTION and which was developed entirely by you on your own time,
and (a) which does not relate at the time of conception or reduction to practice of the INVENTION (i) to the
business of your EMPLOYER or (ii)to your EMPLOYER’s actual or demonstrably anticipated research or
development, or (b) which does not result from any work performed by you for your EMPLOYER.

11. 13. The following applies only to aat California, MinnesotaDelaware, Illinois, Kansas, or North Carolina
employee: Notification is hereby given that paragraph 1Paragraph I above does not apply to an invention to the
extent thatINVENTION for which no equipment, supplies, facility, or trade secret information of theany
COMPANY was used and whichthat was developed entirely by me on myyour own time, and (a) which does not
relateunless (it) the INVENTION relates at the time of conception or reduction to practice of the INVENTION
(i) to the business of the COMPANYyour EMPLOYER or (ii) to the COMPANY’syour EMPLOYER’S actual or
demonstrably anticipated research or development, or (b) which does not result fromh) the INVENTION results
front any work performed by me for the COMPANY.you for your EMPLOYER. For California employees, the
requirement to assign your rights in an invention to your EMPLOYER does not apply to an invention which
qualifies fully under the provisions of California Labor Code Section 2870.

12. 14. The following applies only to a State of Washington employee: Notification is hereby given that paragraph
1Paragraph I above does not apply to an inventionINVENTION for which no equipment, supplies,. facility, or
trade secret information of theany COMPANY was used and whichthat was developed entirely on myyour own
timelime, unless (a) the invention relatesINVENTION relates at the time of conception or reduction to practice
of the INVENTION (i) directly to the business of the COMPANYyour EMPLOYER or (ii) to the
COMPANYyour EMPLOY ER’s actual or demonstrably anticipated research or development, orand (b) the
inventionINVENTION results from any work performed by me for the COMPANYyou for your EMPLOYER.¶

15.      Nothing cent-tined in this Agreement shall be deemed to confer on you any rights with respect to the
duration of your employment. YOUR EMPLOYMENT IS TERMINABLE AT WILL BY EITHER YOUR
EMPLOYER OR YOU, WITH OR WITHOUT CAUSE, EXCEPT THAT IF YOU INITIATE .THE
TERMINATION, THERE SHALL BE, AT YOUR EMPLOYER’S OPTION, A PERIOD OF UP TO
FOURTEEN (14) DAYS AFTER YOU GIVE WRITTEN NOTICE OF TERMINATION BEFORE THE
TERMINATION BECOMES EFFECTIVE. If your EMPLOYER elects to continue your employment during
the notice period, it shall advise you of that foot and or the duration attic notice period. During any notice
period, you will provide such transitional services as your EMPLOYER may request. Your EMPLOYER will
be obligated to continue your pay during the notice period, and your duty of loyalty to your EMPLOYER
will Continue through such period.¶

This Agreement sets forth the entire agreement between the parties relating to its subject matter and
supersedes all prior agreements, written or oral, between them. No modification of or amendment to this
Agreement will he effective unless it is in writing and signed by you and an authorized representative of your
EMPLOYER. You represent that you have not relied on any representations by any representative of any
COMPANY concerning the subject matter of this Agreement that are not expressly stated in this Agreement.

IYOU ACKNOWLEDGE HAVING READ, EXECUTED AND RECEIVED A COPY OF THIS AGREEMENT,
and agree that with respect to the subject matter hereof it is my entire agreement with the COMPANY, suspending
any previous oral or written communications, representations, understandings, or agreements with the COMPANY or
any of its officials or representatives. GE THIS AGREEMENT, AND YOU AGREE TO THE TERMS
ABOVE.¶



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Document comparison by Workshare Compare on Monday, October 9, 2017
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Document 1 ID
                    SECRECY AGREEMENT.DOCX
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                    SECRECY AGREEMENT (cleaned).docx
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Description
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Style change
Format change
Moved deletion
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Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                    Count
Insertions                              167
Deletions                               155
Moved from                                7
Moved to                                  7
Style change                              0
Format changed                            0
Total changes                           336
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